                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:19-CV-00405-FDW-DCK

 HEATHER COLEMAN, AS RELATOR;                          )
 UNITED STATES OF AMERICA; AND                         )
 STATE OF NORTH CAROLINA,                              )
                                                       )
                 Plaintiffs,                           )
                                                       )
    v.                                                 )         ORDER TO SHOW CAUSE
                                                       )
 FAMILY FIRST HOME HEALTH CARE                         )
 LLC; AND MARION JAMES,                                )
                                                       )
                 Defendants.                           )
                                                       )


         THIS MATTER is before the Court sua sponte concerning the status of this case. On July
17, 2023, the Clerk of Court entered default against both Defendants for their failure to timely
answer or otherwise respond to service of the summons and complaint. (Doc. No. 45). On the
next day—July 18, 2022—both Defendants filed an Answer. (Doc. No. 46). The Answer was not
accompanied by any motion seeking to set aside default pursuant to Fed. R. Civ. P. 55(c), and to
date, Plaintiffs have not submitted a motion for default judgment pursuant to Fed. R. Civ. P. 55(b).
The Court does not intend to allow this case—filed in 2019—to linger on its docket. The parties
are hereby ordered to file an appropriate motion either jointly agreeing to the requested relief or
individually requesting relief under the Federal Rules of Civil Procedure and other applicable law.
         IT IS, THEREFORE, ORDERED that counsel for the parties shall immediately confer
and file an appropriate motion within seven (7) days from entry of this Order.
         IT IS SO ORDERED.


                               Signed: July 31, 2023




                                                   1
      Case 3:19-cv-00405-FDW-DCK Document 47 Filed 07/31/23 Page 1 of 1
